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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 TIMOTHY KING, MARIAN ELLEN
 SHERIDAN, JOHN EARL HAGGARD,
 CHARLES JAMES RITCHARD, JAMES
 DAVID HOOPER and DAREN WADE                       No. 2:20-cv-13134
 RUBINGH,
                                                   Hon. Linda V. Parker
               Plaintiffs,
   v.

 GRETCHEN WHITMER, in her official
 capacity as Governor of the State of
 Michigan, JOCELYN BENSON, in her
 official capacity as Michigan Secretary of
 State and the Michigan BOARD OF STATE
 CANVASSERS,

              Defendants
  and

 CITY OF DETROIT, DEMOCRATIC
 NATIONAL COMMITTEE and
 MICHIGAN DEMOCRATIC PARTY,

               Intervenor-Defendants.

 THE CITY OF DETROIT’S RESPONSE TO PLAINTIFFS’ MOTION FOR
  EXTENSION OF TIME TO RESPOND TO THE CITY OF DETROIT’S
    MOTION TO DISMISS AND FOR AN AWARD OF SANCTIONS

        Intervenor-Defendant the City of Detroit (the “City”), by and through counsel,

respectfully requests that this Court deny Plaintiffs’ Motion for Extension of Time

to Respond to the City of Detroit’s Motion to Dismiss and for an Award of Sanctions.


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Under normal circumstances, undersigned counsel would agree to any extension

requested by opposing counsel. These are not normal circumstances.

       Our democracy is in jeopardy. On January 6, 2021, an angry mob of President

Trump’s supporters stormed the United States Capitol, interfering with the peaceful

transition of power, while threatening to kidnap Speaker of the House Nancy Pelosi

and to execute Vice President Mike Pence. At least five people lost their lives in that

violent insurrection. That mob was riled up and motivated by the lies perpetrated in

this lawsuit. These very lawyers incited the violence that has upended our nation.

      There is no time for delay. The City of Detroit has been patient and has not

asked this Court to expedite these proceedings, but this requested delay could further

exacerbate an already dangerous situation. The seditious lies promoted by this

lawsuit must be reviewed and rejected as soon as possible.

      WHEREFORE, the City respectfully requests that this Court deny Plaintiffs’

Motion for Extension of Time to Respond to the City’s Motion to Dismiss and for

an Award of Sanctions.

 January 21, 2021                       Respectfully submitted,


                                        FINK BRESSACK
                                        By: /s/ David H. Fink
                                        David H. Fink (P28235)
                                        Darryl Bressack (P67820)
                                        Nathan J. Fink (P75185)
                                        Attorneys for City of Detroit

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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

 TIMOTHY KING, MARIAN ELLEN
 SHERIDAN, JOHN EARL HAGGARD,
 CHARLES JAMES RITCHARD, JAMES
 DAVID HOOPER and DAREN WADE                  No. 2:20-cv-13134
 RUBINGH,
                                              Hon. Linda V. Parker
            Plaintiffs,
   v.

 GRETCHEN WHITMER, in her official
 capacity as Governor of the State of
 Michigan, JOCELYN BENSON, in her
 official capacity as Michigan Secretary of
 State and the Michigan BOARD OF STATE
 CANVASSERS,

            Defendants
  and

 CITY OF DETROIT, DEMOCRATIC
 NATIONAL COMMITTEE and
 MICHIGAN DEMOCRATIC PARTY,

            Intervenor-Defendants.

  BRIEF IN SUPPORT OF THE CITY OF DETROIT’S RESPONSE TO
 PLAINTIFFS’ MOTION FOR EXTENSION OF TIME TO RESPOND TO
   THE CITY OF DETROIT’S MOTION TO DISMISS AND FOR AN
                   AWARD OF SANCTIONS
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                STATEMENT OF THE ISSUE PRESENTED
      Should the Court extend Plaintiffs’ deadline for filing their response to the

City of Detroit’s Motion to Dismiss and for an Award of Sanctions where the

seditious lies promoted by this lawsuit must be reviewed and rejected as soon as

possible?

      The City of Detroit’s Answer: No.




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       CONTROLLING OR MOST APPROPRIATE AUTHORITIES

E.D. Mich. LR 7.1(e)(1)(B)




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                                   ARGUMENT

      Intervenor-Defendant the City of Detroit (the “City”) respectfully requests

that this Court deny Plaintiffs’ Motion for Extension of Time to Respond to the City

of Detroit’s Motion to Dismiss and for an Award of Sanctions (ECF No. 82). Under

normal circumstances, undersigned counsel would agree to any extension requested

by opposing counsel. These are not normal circumstances.

       Our democracy is in jeopardy. On January 6, 2021, an angry mob of President

Trump’s supporters stormed the United States Capitol, interfering with the peaceful

transition of power, while threatening to kidnap Speaker of the House Nancy Pelosi

and to execute Vice President Mike Pence. At least five people lost their lives in that

violent insurrection. That mob was riled up and motivated by the lies perpetrated in

this lawsuit. These very lawyers incited the violence that has upended our nation.

      There is no time for delay. The City of Detroit has been patient and has not

asked this Court to expedite these proceedings, but this requested delay could further

exacerbate an already dangerous situation.




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      The seditious lies promoted by this lawsuit must be reviewed and rejected as

soon as possible. Plaintiffs’ Motion for Extension of Time to Respond to the City of

Detroit’s Motion to Dismiss and for an Award of Sanctions should be denied.

 January 21, 2021                     Respectfully submitted,


                                      FINK BRESSACK


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                          CERTIFICATE OF SERVICE

      I hereby certify that on January 12, 2021, I electronically filed the foregoing

paper with the Clerk of the court using the electronic filing system, which sends

notice to all counsel of record.

                                      FINK BRESSACK

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